Case 3:09-cr-00179-CRS-DW Document 119 Filed 09/01/10 Page 1 of 3 PageID #: 267




                                      UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF KENTUCKY
                                             AT LOUISVILLE


 UNITED STATES OF AMERICA                                                                                       PLAINTIFF


 v.                                                                      CRIMINAL ACTION NO. 3:09CR-179-S


 DANIEL M. KEY                                                                                               DEFENDANT


                                  MEMORANDUM OPINION AND ORDER


          This matter is before the court on motion of the defendant, Daniel M. Key, to suppress

 evidence seized as a result of the use of passenger flight records obtained under an administrative

 subpoena directed to Southwest Airlines (DN 87). The subpoena in question required Southwest

 Airlines to provide flight records for any individuals who had paid cash at the ticketing counter to

 board Southwest Airlines flight 3449 from Louisville, Kentucky to Phoenix, Arizona on September

 12, 2009.1

          Key has not shown standing to challenge the subpoena.                               Key states only that the

 administrative subpoena was “unlawful,” and that he has moved for suppression “pursuant to the

 Fourth, Fifth and Sixth Amendments to the United States Constitution.” Mo. to Supp., p. 1. He

 complains that “personal information was provided to the government without his consent and

 without a warrant.” Id. He states that at the time the subpoena was issued, Key had been

 “identified.” Id. He does not explain nor does he offer authority to support the contentions that the

 subpoena was unlawful or that he has any grounds to challenge a subpoena issued to an airline.

          1
            There is virtually no information offered in the motion about the seizure. The court assumes that Key is seeking to
 suppress items seized as a result of information obtained by investigating agents about passengers who purchased tickets for the
 September 12, 2009 flight from Louisville to Phoenix.
Case 3:09-cr-00179-CRS-DW Document 119 Filed 09/01/10 Page 2 of 3 PageID #: 268




        In United States v. Phibbs, 999 F.2d 1053 (6th Cir. 1993) the United States Court of Appeals

 for the Sixth Circuit stated:

        Here, the administrative subpoenas were not directed at Rojas but rather at third
        party businesses. As a consequence, he did not have standing to dispute their
        issuance on Fourth Amendment grounds, unless he could demonstrate that he had a
        legitimate expectation of privacy attaching to the records obtained. See, e.g., United
        States v. Salvucci, 448 U.S. 83, 100 S.Ct. 2547, 65 L.Ed.2d 619 (1980); Katz v.
        United States, 389 U.S. 347, 88 S.Ct. 507, 19 L.Ed.2d 576 (1967). It is evident,
        however, that Rojas did not have both an actual and a justifiable privacy interest in
        any of these materials, including his credit card statements and telephone
        records...United States v. Miller, 425 U.S. 435, 440-41, 96 S.Ct. 1619, 1623, 48
        L.Ed.2d 71 (1976)(records of bank transactions were not “private papers,” over
        which a person could claim ownership or possession, but were business records).
        The information contained within them was readily accessible to employees during
        the normal course of business. Rojas therefore lacked standing to challenge the
        government’s use of the subpoenas.

 Phibbs, 999 F.2d at 1078.

        Key has not articulated a legitimate expectation of privacy attaching to the records obtained

 from Southwest Airlines. Additionally, he has not explained the pertinence of Key having been

 “identified” at the time of the issuance of the subpoena. As noted in Phibbs, supra., once a targeted

 individual has been indicted, the United States must cease its use of the grand jury in preparing its

 case. However, the investigatory mechanism of the administrative subpoena authorized by 21

 U.S.C. § 876(a) is not so limited. Phibbs, 999 F.2d at 1077. In any event, being “identified” is a

 far cry from being indicted. Key has simply provided no basis for his challenge.



        Therefore, motion having been made and for the reasons stated hereinabove and the court

 being otherwise sufficiently advised, IT IS HEREBY ORDERED AND ADJUDGED that the

 motion of the defendant, Daniel M. Key, to suppress (DN 87) is DENIED.




                                                 -2-
Case 3:09-cr-00179-CRS-DW Document 119 Filed 09/01/10 Page 3 of 3 PageID #: 269




 IT IS SO ORDERED.



            August 31, 2010




                                     -3-
